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                               UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF NEW JERSEY

     IN RE:                                                :      CASE NOS.:     08-14631 (GMB)
                                                           :                     08-14632
     SHAPES / ARCH HOLDINGS, LLC et al.                    :                     08-14633
                                                           :                     08-14634
                            Debtors.                       :                     08-14635
                                                           :      Chapter 11 Proceedings
                                                           :      Jointly Administered
                                                   :
                                                           :



       CERTIFICATION OF JOHNESE DORSEY IN SUPPORT OF COOPER ELECTRIC
         SUPPLY CO.’S MOTION TO COMPEL PAYMENT OF AN ADMINISTRATIVE
              EXPENSE CLAIM PURSUANT TO 11 U.S.C. §503(a) and §503(b)(9)

              I, JOHNESE DORSEY, of full age, hereby certify the following to be true:

              1.     I am the Assistant Credit Manager of Cooper Electric Supply Co. (“Cooper”), and

     am duly authorized to make this Certification. I submit this Certification in support of Cooper’s

     Motion To Compel Payment Of An Administrative Expense Claim Pursuant To 11 U.S.C. §503(a)

     and §503(b)(9).

              2.     I am fully familiar with the books and business of Cooper relative to this matter.

              3.     Upon information and belief, one or more of the debtors named herein formerly

     did business during the period at issue as “Aluminum Shapes, Inc.” The statement of account of

     Aluminum Shapes, Inc. (“Debtor”) annexed hereto (“Statement”) is a true and accurate copy of
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     the books of original entry of Cooper as of March 25, 2008. (See Exhibit “A” annexed hereto).

            4.      The materials and/or services for which the book account charges reflected in the

     Statement were incurred (“Materials”) were sold, delivered to, and accepted by the Debtor in the

     ordinary course of business. Said charges are fair and reasonable, and as per agreement.

            5.      The Debtor’s execution of Cooper’s Credit Application dated November 11,

     1995, along with the list of credit references subsequently provided by the Debtor, were

     conditions precedent to Cooper’s supply of the aforesaid Materials, and said Materials were

     supplied pursuant to, and in reliance upon, said documents. (See Exhibit “B” annexed hereto).

            6.      Prior to the Petition Date, and in response to purchase orders received from the

     Debtor, Cooper supplied approximately $24,771.43 of its materials (“Materials”) to the Debtor

     on credit.

            7.      To date, Cooper has not been paid for any of its aforesaid Materials.

            8.      Of the total amount of Cooper’s Materials supplied pre-Petition, $6,244.74 of

     those Materials were supplied within twenty (20) days prior to the Petition Date.

            9.      Based upon the foregoing, Cooper has filed through counsel a Request for

     Payment of an Administrative Expense in these matters for the sum of $6,244.74

     (“Administrative Expense Claim”). (See Exhibit “C” annexed hereto).

            10.     Cooper has also filed through counsel a Proof of Claim in these matters for the

     sum of $18,526.69. (See Exhibit “D” annexed hereto).
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                     EXHIBIT “C”
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                    EXHIBIT “D”
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